Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 1
                                                         Page 1 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 2
                                                         Page 2 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 3
                                                         Page 3 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 4
                                                         Page 4 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 5
                                                         Page 5 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 6
                                                         Page 6 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 7
                                                         Page 7 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 8
                                                         Page 8 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24              Ex. A, p. 9
                                                         Page 9 of 14
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24   Page 10 ofEx.
                                                                    14A, p. 10
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24   Page 11 ofEx.
                                                                    14A, p. 11
Case 3:24-cv-00137-SLG   Document 8-2   Filed 08/20/24   Page 12 ofEx.
                                                                    14A, p. 12
                        BRIDGE FORMULA CHART FOR GROSS VEHICLE WEIGHTS                                                                                                   1 of 2




   WB/Axles              3       4       5        6         7         8         9         10        11        12         13        14         15          16         Axles/WB
   14                  46500   51500   57000                                                                                                                                14
   15                  47500   52000   57500          Department of Transportation & Public Facilities Regulations                                                          15
   16                  48000   52500   58000                                17 AAC 25.013        Legal vehicle weight                                                       16
   17                  49000   53500   58500                                17 AAC 25.017        Supplemental axles                                                         17
   18                  49500   54000   59500                                17 AAC 25.100        Road closures and restrictions                                             18
   19                  50500   54500   60000                                17 AAC 25.900        Definitions                                                                19
   20                  51000   55500   60500                                                                                                                                20
   21                  52000   56000   61000          Metric tire size can be converted to inches by multiplying by .0394                                                   21
   22                  52500   56500   62000          i.e. 255/70R22.5 = 255 mm X .0394 inches/mm = 10 inches                                                               22
   23                  53500   57500   62500                                                                                                                                23
   24                  54000   58000   63000          8'1" is the minimum spacing between axle groups. Axles spaced less than 8'1'                                          24
   25                  55000   58500   63500          apart are considered acting as one group.                                                                             25
   26                  55500   59500   64500                                                                                                                                26
   27                  56500   60000   65000          For axle configurations not on this chart the gross vehicle weight may be                                             27
   28                  57000   60500   65500          determined by the following BRIDGE FORMULA:                                                                           28
   29                  58000   61500   66000    69500                                                                                                                       29
   30                  58500   62000   67000    72000                                                                                                                       30
   31                  59500   62500   67500    72500                           ℎ           ℎ = 500            + 12 + 36                                                    31
                                                                                                           −1
   32                  60000   63500   68000    73000                                                                                                                       32
   33                          64000   68500    74000 L = Wheelbase as measured from the center of the steering axle to the                                                 33
   34                          64500   69500   74500             center of the last axle in feet. Inches are rounded up to the next whole foot.                             34
   35                          65500   70000    75000 N = Total number of axles.                                                                                            35
   36                          66000   70500    75500                                                                                                                       36
   37                          66500   71000    76000 For configurations with no lift axle(s) in the drive group, an additional 3,000 pounds is                             37
   38                          67500   72000    77000 added to the gross vehicle weights as determined by the bridge formula or chart.                                      38
   39                          68000   72500    77500 Legal gross vehicle is always the most restrictive of the bridge formula and the gross                                39
   40                          68500   73000    78000 weight as determined by axle weights or by tires.                                                                     40
   41                          69500   73500    78500                                                                                                                       41
   42                          70000   74500    79000            Lift axle(s) in the drive group of the power unit are not counted in determining                           42
   43                          70500   75000   80000             the legal maximum allowable weight.                                                                        43
   44                          71500   75500    80500                                                                                                                       44
   45                          72000   76000    81000 86500 91500                                     MAXIMUM HIGHWAY SPEEDS                                                45
   46                          72500   77000    81500 87000 92500                                  % Over Legal                    Maximum Speed                            46
   47                          73500   77500    82000 87500 93000                                   Up to 125%                        As Posted                             47
   48                          74000   78000    83000 88000 93500                                 > 125% to 140%                       45 MPH                               48
   49                          74500   78500    83500 88500 94000                                 > 140% to 150%                       40 MPH                               49
   50                          75500   79500    84000 89000 94500                                 > 150% to 175%                       35 MPH                               50
   51                                  80000    84500 90000 95000                                     > 175%                           25 MPH                               51
   52                                  80500    85000 90500 95500                                                                                                           52
   53                                  81000    86000 91000 96500                                                                                                           53
   54                                  82000    86500 91500 97000                                                                                                           54
   55                                  82500    87000 92000 97500                      AXLE WEIGHTS AND TIRE LOADINGS MUST ALSO BE CONSIDERED                               55
   56                                  83000    87500 92500 98000                                                                                                           56
   57                                  83500    88000 93500 98500                      Max tire loading = no. of tires X tire width (inches) X 600 pounds/inch              57
   58                                  84500    89000 94000 99000                                                                                                           58
   59                                  85000    89500 94500 99500                                                                                                           59
   60                                  85500    90000 95000 100500 106000 111500 117000                              Single axles = 20,000 pounds maximum                   60
   61                                  86000    90500 95500 101000 106500 112000 117500                              2 Axle group = 38,000 pounds maximum                   61
   62                                  87000    91000 96000 101500 107000 112500 118000                              3 Axle group = 42,000 pounds maximum *                 62
   63                                  87500    92000 97000 102000 107500 113000 118500                              4 Axle group = 50,000 pounds maximum                   63
   64                                  88000    92500 97500 102500 108000 113500 119000                                                                                     64
   65                                  88500    93000 98000 103000 108500 114000 120000                              * Reference 17 AAC 25.013 (a)(5) for                   65
   66                                  89500    93500 98500 103500 109000 114500 120500                              additional allowable weight on certain (3) axle        66
   67                                  90000    94000 99000 104500 109500 115000 121000                              combinations                                           67
   68                                  90500    95000 99500 105000 110500 116000 121500                                                                                     68
   69                                  91000    95500 100500 105500 111000 116500 122000                                                                                    69
   70                                  92000    96000 101000 106000 111500 117000 122500                                                                                    70
   71                                  92500    96500 101500 106500 112000 117500 123000                                                                                    71
   72                                  93000    97000 102000 107000 112500 118000 123500 129500 135000 141000 146500                                      152500            72
   73                                  93500    98000 102500 107500 113000 118500 124000 130000 135500 141500 147000                                      153000            73
   74                                  94500    98500 103000 108500 113500 119000 124500 130500 136000 142000 147500                                      153500            74
   75                                  95000    99000 104000 109000 114000 119500 125500 131000 136500 142500 148000                                      154000            75
   76                                           99500 104500 109500 115000 120000 126000 131500 137000 143000 148500                                      154500            76
   77                                          100000 105000 110000 115500 121000 126500 132000 137500 143500 149500                                      155000            77
   78                                          101000 105500 110500 116000 121500 127000 132500 138500 144000 150000                                      155500            78
   79                                          101500 106000 111000 116500 122000 127500 133000 139000 144500 150500                                      156000            79
   80                                          102000 106500 111500 117000 122500 128000 133500 139500 145000 151000                                      156500            80
   81                                          102500 107500 112500 117500 123000 128500 134000 140000 145500 151500                                      157000            81
   82                                          103000 108000 113000 118000 123500 129000 134500 140500 146000 152000                                      157500            82
   83                                          104000 108500 113500 118500 124000 129500 135500 141000 146500 152500                                      158500            83




  Printed: 3/15/2021                                                                                                                                                   Page 1


Source:Case
        https://dot.alaska.gov/mscve/webdocs/bridge_formula_chart.pdf
              3:24-cv-00137-SLG Document 8-2 Filed 08/20/24                                                                   Page 13 ofEx.
                                                                                                                                         14A, p. 13
                       BRIDGE FORMULA CHART FOR GROSS VEHICLE WEIGHTS                                                                      2 of 2




   WB/Axles            3   4   5      6        7        8        9       10       11       12       13       14       15       16     Axles/WB
   84                              104500   109000   114000   119500   124500   130000   136000   141500   147000   153000   159000          84
   85                              105000   109500   114500   120000   125000   131000   136500   142000   148000   153500   159500          85
   86                              105500   110000   115000   120500   126000   131500   137000   142500   148500   154000   160000          86
   87                              106000   111000   115500   121000   126500   132000   137500   143000   149000   154500   160500          87
   88                              107000   111500   116500   121500   127000   132500   138000   143500   149500   155000   161000          88
   89                              107500   112000   117000   122000   127500   133000   138500   144000   150000   155500   161500          89
   90                              108000   112500   117500   122500   128000   133500   139000   145000   150500   156000   162000          90
   91                              108500   113000   118000   123000   128500   134000   139500   145500   151000   157000   162500          91
   92                              109000   113500   118500   124000   129000   134500   140000   146000   151500   157500   163000          92
   93                              110000   114500   119000   124500   129500   135000   140500   146500   152000   158000   163500          93
   94                              110500   115000   119500   125000   130000   135500   141500   147000   152500   158500   164000          94
   95                              111000   115500   120500   125500   131000   136500   142000   147500   153000   159000   164500          95
   96                              111500   116000   121000   126000   131500   137000   142500   148000   153500   159500   165000          96
   97                              112000   116500   121500   126500   132000   137500   143000   148500   154000   160000   165500          97
   98                              113000   117000   122000   127000   132500   138000   143500   149000   155000   160500   166500          98
   99                              113500   118000   122500   127500   133000   138500   144000   149500   155500   161000   167000          99
   100                             114000   118500   123000   128500   133500   139000   144500   150000   156000   161500   167500         100
   101                             114500   119000   123500   129000   134000   139500   145000   150500   156500   162000   168000         101
   102                             115000   119500   124500   129500   134500   140000   145500   151500   157000   162500   168500         102
   103                             116000   120000   125000   130000   135000   140500   146000   152000   157500   163000   169000         103
   104                             116500   120500   125500   130500   136000   141000   146500   152500   158000   163500   169500         104
   105                             117000   121500   126000   131000   136500   142000   147500   153000   158500   164500   170000         105
   106                             117500   122000   126500   131500   137000   142500   148000   153500   159000   165000   170500         106
   107                             118000   122500   127000   132000   137500   143000   148500   154000   159500   165500   171000         107
   108                             119000   123000   127500   133000   138000   143500   149000   154500   160000   166000   171500         108
   109                             119500   123500   128500   133500   138500   144000   149500   155000   160500   166500   172000         109
   110                             120000   124000   129000   134000   139000   144500   150000   155500   161000   167000   172500         110
   111                             120500   125000   129500   134500   139500   145000   150500   156000   162000   167500   173000         111
   112                             121000   125500   130000   135000   140000   145500   151000   156500   162500   168000   173500         112
   113                             122000   126000   130500   135500   141000   146000   151500   157000   163000   168500   174500         113
   114                             122500   126500   131000   136000   141500   146500   152000   158000   163500   169000   175000         114
   115                             123000   127000   131500   136500   142000   147500   152500   158500   164000   169500   175500         115
   116                             123500   127500   132500   137500   142500   148000   153500   159000   164500   170000   176000         116
   117                             124000   128500   133000   138000   143000   148500   154000   159500   165000   170500   176500         117
   118                             125000   129000   133500   138500   143500   149000   154500   160000   165500   171000   177000         118
   119                             125500   129500   134000   139000   144000   149500   155000   160500   166000   172000   177500         119
   120                             126000   130000   134500   139500   144500   150000   155500   161000   166500   172500   178000         120
   121                             126500   130500   135000   140000   145000   150500   156000   161500   167000   173000   178500         121
   122                             127000   131000   135500   140500   146000   151000   156500   162000   167500   173500   179000         122
   123                             128000   132000   136500   141000   146500   151500   157000   162500   168000   174000   179500         123
   124                             128500   132500   137000   142000   147000   152000   157500   163000   169000   174500   180000         124
   125                             129000   133000   137500   142500   147500   153000   158000   163500   169500   175000   180500         125
   126                             129500   133500   138000   143000   148000   153500   158500   164500   170000   175500   181000         126
   127                             130000   134000   138500   143500   148500   154000   159500   165000   170500   176000   181500         127
   128                             131000   134500   139000   144000   149000   154500   160000   165500   171000   176500   182500         128
   129                             131500   135500   139500   144500   149500   155000   160500   166000   171500   177000   183000         129
   130                             132000   136000   140500   145000   150000   155500   161000   166500   172000   177500   183500         130
   131                             132500   136500   141000   145500   151000   156000   161500   167000   172500   178000   184000         131
   132                             133000   137000   141500   146500   151500   156500   162000   167500   173000   178500   184500         132
   133                             134000   137500   142000   147000   152000   157000   162500   168000   173500   179500   185000         133
   134                             134500   138000   142500   147500   152500   157500   163000   168500   174000   180000   185500         134
   135                             135000   139000   143000   148000   153000   158500   163500   169000   174500   180500   186000         135
   136                             135500   139500   143500   148500   153500   159000   164000   169500   175000   181000   186500         136
   137                             136000   140000   144500   149000   154000   159500   164500   170000   176000   181500   187000         137
   138                             137000   140500   145000   149500   154500   160000   165500   171000   176500   182000   187500         138
   139                             137500   141000   145500   150000   155000   160500   166000   171500   177000   182500   188000         139
   140                             138000   141500   146000   151000   156000   161000   166500   172000   177500   183000   188500         140
   141                             138500   142500   146500   151500   156500   161500   167000   172500   178000   183500   189000         141
   142                             139000   143000   147000   152000   157000   162000   167500   173000   178500   184000   189500         142
   143                             140000   143500   147500   152500   157500   162500   168000   173500   179000   184500   190500         143
   144                             140500   144000   148500   153000   158000   163000   168500   174000   179500   185000   191000         144
   145                             141000   144500   149000   153500   158500   164000   169000   174500   180000   185500   191500         145
   146                             141500   145000   149500   154000   159000   164500   169500   175000   180500   186000   192000         146
   147                             142000   146000   150000   154500   159500   165000   170000   175500   181000   187000   192500         147
   148                             143000   146500   150500   155500   160000   165500   170500   176000   181500   187500   193000         148
   149                             143500   147000   151000   156000   161000   166000   171500   176500   182000   188000   193500         149
   150                             144000   147500   151500   156500   161500   166500   172000   177500   183000   188500   194000         150




  Printed: 3/15/2021                                                                                                                      Page 2


Source:Case
        https://dot.alaska.gov/mscve/webdocs/bridge_formula_chart.pdf
              3:24-cv-00137-SLG Document 8-2 Filed 08/20/24                                            Page 14 ofEx.
                                                                                                                  14A, p. 14
